 Case 2:21-cv-07519-CJC-RAO Document 12-4 Filed 12/13/21 Page 1 of 12 Page ID #:88



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 9

10                   IN THE UNITED STATES DISTRICT COURT
11
                       CENTRAL DISTRICT OF CALIFORNIA
12

13                               WESTERN DIVISION
14
     Rachel Yates,                           Case No.: 2:21-cv- 7519-CJC-RAO
15
                  Plaintiff,
16
                                             COMPLAINT FOR PATENT
17   vs.                                     INFRINGEMENT;
18
     Walmart Inc.; and DOES 1-10,            DEMAND FOR JURY
19
                  Defendants.                TRIALFIRST AMENDED
20                                           COMPLAINT FOR PATENT
                                             INFRINGEMENT;
21

22                                           DEMAND FOR JURY TRIAL
23

24                   COMPLAINT FOR PATENT INFRINGEMENT
25

26

27
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28   FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1         Plaintiff Rachel Yates, by and through her attorneys, files this Complaint
 2
     for Patent Infringement and Demand for Jury Trial against Walmart Inc. and
 3

 4   DOES 1-10 (collectively “Defendants”) and alleges as follows:
 5

 6

 7                                     THE PARTIES
 8
        1. Ms. Yates is a natural person who residents in Los Angeles, California.
 9
     She is the inventor and owner of the entire interest of the patent-in-suit.
10
        2. Defendant Walmart Inc. (“Defendant” or “Walmart”) is a corporation
11
     organized and existing under the laws of the State of Delaware, with its principal
12

13
     place of business in Bentonville, Arkansas. Walmart may be served through its

14   registered agent for service of process The Corporation Trust Company, located
15   at Corporation Trust Center 1209 Orange ST, Wilmington, DE 19801.
16      3. Plaintiff Ms. Yates is informed and believes that, together with Walmart,
17
     other individuals and entities currently named as DOES 1-10 may also be
18
     responsible in one manner or another for the wrongs alleged herein, in that at all
19
     relevant times, each one (including Walmart) was the agent and servant of the
20
     others and acting within the course and scope of said agency and employment.
21

22   These other individuals and entities are sued under fictitious names DOES 1-10
23   because their true names and capacities are currently unknown to Plaintiff.
24   Plaintiff will seek leave to amend this Complaint when the true names and
25   capacities of DOES 1-10 are ascertained.
26
                              JURISDICTION AND VENUE
27
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28   FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1
        4. This action arises under the Patent Laws of the United States, 35 U.S.C. §§
 2
     1 et seq.
 3

 4
        5. This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and

 5   1338.
 6      6. This Court has personal jurisdiction over Defendant. Defendant conducts
 7   business and has committed acts of infringement and has induced acts of patent
 8
     infringement by others in this judicial district and has contributed to patent
 9
     infringement by others in this district, the State of California, and elsewhere in
10
     the United States.
11
        7. Venue is proper in this Court under 28 U.S.C. §§ 1391(b), (c) and 1400(b)
12

13   in that this is the judicial district in which defendant has committed acts of
14   infringement and has regular and established places of business.
15                                 BACKGROUND FACTS
16      8. Ms. Yates conceived of a new animal harness for use in exercise to
17
     improve the health of animals while being comfortable to wear, among other
18
     benefits. She was a precocious inventor, having invented the subject matter at the
19
     age of eleven.
20

21
        9. The invention won Ms. Yates the first-place prize at an invention contest,

22   with the prize including legal services for drafting and submitting a patent
23   application for the invention as well as United States Patent and Trademark
24   Office (USPTO) fees. All USPTO fees were paid by the prosecuting patent
25
     attorney, Mr. Andy Arismendi.
26

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                                     -3-
28   FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1
        10. The patent application for Ms. Yates’ invention was filed on March 27,
 2
     2003 and issued on March 23, 2004 as U.S. Patent Serial No. 6,708,650 (the ‘650
 3

 4
     Patent). A true and correct copy of the ‘650 Patent is attached as Exhibit A.

 5      11. Ms. Yates is the sole and exclusive owner of all right, title, and interest, in
 6   the ‘650 Patent.
 7      12. Due to extraordinary circumstances, including the death of the prosecuting
 8
     patent attorney Mr. Arismendi with the attendant breakdown in communication
 9
     with Ms. Yates, the patent expired in 2008 due to non-payment of maintenance
10
     fees. Ms. Yates had no notice and no knowledge of the expiration of the patent
11
     from either the USPTO or the prosecuting attorney.
12

13      13. On or around September 10, 2020, Ms. Yates discovered the patent was
14   expired and petitioned the USPTO to accept unintentionally delayed payment of
15   maintenance fees in an expired patent. The petition was eventually granted with
16   notice mailed on June 25, 2021. The patent is considered as not having expired at
17
     the end of the grace period for the payment of maintenance fees.
18

19
                                    WALMART PRODUCTS
20

21
        14. Defendant makes, uses, sells, offers for sale, and/or imports into the United

22   States and this District animal harness products (“Accused Products”) including
23   the products listed below:. True and correct copies of screen captures (accessed
24   on December 12, 2021) of the Accused Products are attached as Exhibits B1-B7.
25

26         Maker          Product                            Product Link

27
                                     -4-
28   FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1                      Blue Frog 1X Track N
                        Guard GPS Message
 2
                        Ready & Built-In I.D.
                                                https://www.walmart.com/ip/Blue-Frog-1X-Track-N-Guard-
 3                     Tag Dog Harness (Easy
                                                  GPS-Message-Ready-Built-In-I-D-Tag-Dog-Harness-Easy-
      1    Blue Frog    Step-In, Fashionable
                                                Step-In-Fashionable-Double-2MM-Reflective-Stitch-Design-
 4                          Double 2MM
                                                               Turquoise-Medi/470220973
                          Reflective Stitch
 5                       Design), Turquoise,
                               Medium
 6
                       Vibrant Life Patterned
                                                https://www.walmart.com/ip/Vibrant-Life-Patterned-Step-
 7          Vibrant     Step-In Dog Harness,
      2                                               In-Dog-Harness-Strategy-Camo-Medium-14-20-
              Life         Strategy Camo,
 8                                                                   in/230911898
                          Medium 14-20 in
                       Vibrant Life Patterned
 9                                              https://www.walmart.com/ip/Vibrant-Life-Patterned-Step-
            Vibrant     Step-In Dog Harness,
      3                                              In-Dog-Harness-Strategy-Teal-Camo-Large-22-36-
10            Life      Strategy Teal Camo,
                                                                     in/286096945
                           Large 22-36 in
11                      Vibrant Life Comfort
                        Padded Step-In Dog        https://www.walmart.com/ip/Vibrant-Life-Comfort-
12          Vibrant
      4                  Harness, Gray/Blue     Padded-Step-In-Dog-Harness-Gray-Blue-Striped-Large-22-
              Life
13                      Striped, Large(22-36                      36-in/527833016
                                 in)
14                        Vibrant Life Solid
            Vibrant                             https://www.walmart.com/ip/Vibrant-Life-Solid-Polyester-
      5                Polyester Step-In Dog
15            Life                                    Step-In-Dog-Harness-Black-8-14-in/799823978
                       Harness, Black 8-14 in
16
                        Vibrant Life Comfort
            Vibrant     Padded Step-In Dog         https://www.walmart.com/ip/Vibrant-Life-Comfort-
      6
17            Life     Harness, Purple, 22-36     Padded-Step-In-Dog-Harness-Purple-22-36-in/931854
                                  in
18                        Vibrant Life Solid
            Vibrant                             https://www.walmart.com/ip/Vibrant-Life-Solid-Polyester-
      7                Polyester Step-In Dog
19            Life                                     Step-In-Dog-Harness-Blue-8-14-in/870254948
                       Harness, Blue, 8-14 in
20

21
                             COUNT 1 FOR INFRINGEMENT OF
22
                                    U.S. PATENT NO. 6,708,650
23

24
          15. Plaintiff repeats, re-alleges, and incorporates by reference as though fully

25   set forth herein, the allegations contained in all preceding paragraphs of this
26   Complaint.
27
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28   FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1
        16. On March 23, 2004, the ‘650 Patent was duly and legally issued by the
 2
     USPTO under the title “Method for Installing an Exercising Harness on an
 3

 4
     Animal.” The ‘650 Patent is referred to as the “Asserted Patent.”

 5      17. Ms. Yates is the sole inventor and sole owner of the right, title, and interest
 6   in and to the ‘650 Patent, with the rights to assert all causes of action arising
 7   under the ‘650 Patent and right to collect any remedies for infringement of it. Ms.
 8
     Yates is the sole owner of the ‘650 Patent and has been the sole owner since
 9
     issuance.
10
        18. On information and belief, Defendant has and continues to directly infringe
11
     either literally or under the doctrine of equivalents, or both, or indirectly infringe
12

13   at least Claims 1 and 6 by selling, offering to sell, making, using, providing,
14   causing to be used, instructing, directing, and/or requiring others to perform all or
15   some of the steps of the method claims, either literally or under the doctrine of
16   equivalents. Defendant directly or indirectly infringes, literally or under the
17
     doctrine of equivalents by selling, offering to sell, making, using, providing,
18
     causing to be used the Accused Products and by inducing customers to perform
19
     all or some of the steps of the method claim.
20

21
        19. On information and belief, the Accused Products have been used to

22   infringe and continue to directly infringe or indirectly infringe at least Claims 1
23   and 6 of the ‘650 Patent during the pendency of the ‘650 Patent.
24      20. On information and belief, the Accused Products include each and every
25
     element of Claim 6:
26
          A harness for a four-legged animal, the harness comprising:
27
                                           -6-
28   FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1
                  a first adjuster;
 2
                  a second adjuster;
 3

 4
                  a strap having a first end loop and a second end loop;

 5                a first leg loop; and
 6                a second leg loop,
 7                wherein the strap extending from the first end loop is
 8
                         inserted
 9
                         through the first leg adjuster and then back through the first
10
                  leg adjuster forming the first leg loop,
11
                         then through the second adjuster and back through the second
12

13                adjuster forming the second leg loop, and
14                       then through the first end loop forming a triangular-shaped
15                opening with the first adjuster, second adjuster and first end loop as
16                the apexes for the triangular opening, wherein the triangular opening
17
                  is for the head or the tail of the animal depending if installed on the
18
                  chest of the animal or on the rear end of the animal, respectively.
19
        21. Each and every one of the Accused Products is an animal harness that
20

21
     includes each and every element of Claim 6, including the strap having the first

22   end loop and second end loop, the first and second adjusters, the first leg loop
23   and second leg loop. Each and every one of the Accused Products includes the
24   strap extending from the first end loop inserted through the first leg adjuster and
25
     then back through the first leg adjuster forming the first leg loop, and then
26
     through the second adjuster and back through the second adjuster forming the
27
                                             -7-
28   FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1
     second leg loop, and through the first end loop forming a triangular-shaped
 2
     opening with the first adjuster, second adjuster and first end loop as the apexes
 3

 4
     for the triangular opening, with the triangular opening for the head or the tail of

 5   the animal depending if installed on the chest of the animal or on the rear end of
 6   the animal, respectively.
 7      21. On information and belief, Defendant induces infringement by their
 8
     customers of each and every element of Claim 1:
 9
           A method of installing a harness on a four-legged animal used to aid in
10
        training and exercising the animal and to aid in urging the animal from a
11
        sitting position to an upright position, wherein the animal has a rear back, a
12

13      rear end, a left rear leg, a left rear leg pit, a right rear leg and a right rear leg
14      pit, harness comprises:
15             a first loop,
16             a second loop, and
17
               a first connecting portion, wherein said first and second loops are
18
           connected to the first connecting portion,
19
           said method comprising:
20

21
               placing the first loop substantially around the left rear leg; placing the

22         second loop substantially around the right rear leg;
23             placing the first connecting portion adjacent the rear back such that the
24         first and second loops are below the left and right hind leg pits,
25
           respectively; and
26

27
                                     -8-
28   FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1
               attaching the first connecting portion directly or indirectly to a leash,
 2
           whereby pulling the first connecting portion in a forward direction relative
 3

 4
           to the animal causes the first and second loops to come into contact with

 5         the left and right rear leg pits and impose pressure thereon urging the
 6         animal to take action to release the pressure by sitting up and or moving
 7         forward.
 8
        22. Since at least the time of receiving this Complaint Defendant has had
 9
     actual notice that it is directly infringing and/or indirectly infringing the ‘650
10
     Patent.
11
        23. The Accused Products are used, marketed, provided to, and/or used by or
12

13   for each of Defendant’s partners, affiliates, subsidiaries, vendors, clients,
14   customers, and/or end users in this District.
15      24. On information and belief, since at least the time of receiving this
16   Complaint, PetSmart has induced and continues to induce others to infringe at
17
     least Claim 1 of the ‘650 Patent under 35 U.S.C. § 271(b) with specific intent or
18
     willful blindness, by, among other things, actively aiding and abetting others to
19
     infringe, including, but not limited to, Defendant’s customers, whose use of the
20

21
     Accused Products constitute direct infringement of at least claim 1 of the ‘650

22   Patent.
23      25. In particular, Defendant’s actions that aid and abet the infringement of
24   others, such as their customers, by distributing the Accused Products, providing
25
     instructions, materials and/or services related to the Accused Products. On
26
     information and belief, Defendant has engaged in such actions with specific
27
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28   FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1
     intent to cause infringement or with willful blindness to the resulting
 2
     infringement, because Defendant has had actual notice of the ‘650 Patent and that
 3

 4
     its acts were inducing infringement of the ‘650 Patent since at least the time of

 5   receiving this Complaint.
 6      26.24.    On information and belief, Defendant’s infringement has been and
 7   continues to be willful.
 8
        27.25.    Plaintiff has been harmed by Defendant’s infringing activities.
 9
        28.26.    As a result of Defendant’s unlawful activities, Plaintiff has suffered
10
     and will continue to suffer irreparable harm for which there is no adequate
11
     remedy at law. Ms. Yates is actively engaged in licensing the patented
12

13   technology. Defendant’s continued infringement of the Asserted Patent causes
14   harm to Plaintiff in the form of price erosion, loss of goodwill, damage to
15   reputation, loss of business opportunities, inadequacy of money damages, and
16   direct and indirect competition. Monetary damages are insufficient to compensate
17
     Plaintiff for these harms. Accordingly, Plaintiff is entitled to preliminary and/or
18
     permanent injunctive relief.
19
                                    PRAYER FOR RELIEF
20

21
     WHEREFORE, Plaintiff Rachel Yates prays for relief as follows:

22      1. For an Order enjoining Defendant, their officers, agents, employees, and
23   those acting in concert or conspiracy with them, temporarily during the pendency
24   of this action and permanently thereafter from infringing, or inducing
25
     infringement by others, of the ‘650 Patent;
26

27
                                     -10-
28   FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1
        2. A judgment declaring that Defendant has directly and/or indirectly
 2
     infringed one or more claims of the ‘650 Patent in violation of 35 U.S.C. § 271.
 3

 4
        3. A judgment, pursuant to 35 U.S.C. § 284, awarding Plaintiff damages

 5   adequate to compensate Plaintiff for Defendant’s infringement of the ‘650 Patent,
 6   in an amount to be determined at trial, but in no event less than a reasonable
 7   royalty.
 8
        4. An order, pursuant to 35 U.S.C. § 284, finding that Defendant’s
 9
     infringement has been willful and deliberate and awarding to Plaintiff up to treble
10
     damages;
11
        5. A judgment, pursuant to 35 U.S.C. § 284, awarding Plaintiff interest on the
12

13   damages and its costs incurred in this action;
14      6. An award of pre-judgment and post-judgment interest and costs to Plaintiff
15   pursuant to 35 U.S.C. § 284.
16      7. An order, pursuant to 35 U.S.C. § 285, finding that this is an exceptional
17
     case and awarding to Plaintiff its reasonable attorneys’ fees incurred in this
18
     action; and
19
        8. For other such relief as the court deems just and proper.
20

21

22

23                                    JURY DEMAND
24      Plaintiff demands a trial by jury on all issues triable as such.
25

26                                           Respectfully Submitted,
27
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28   FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1

 2   Dated: September December 2013, 2021           ZHEN LAW FIRM
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28   FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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